                Case 1:20-mj-00252 Document 12 Filed 10/26/20 Page 1 of 1 PageID #: 30


AO 442 (Rev. 01/09) Arrest Warrant




                                              UNITED STATES DISTRICT COURT
                                                                       for the

                                                           Western District of Michigan

                   United States of America
                                  V.                                     )
                                                                         )
 Barry Croft                                                                      Case No.        1 :20-mj-416
                                                                         )
                                                                         )                                           -u,

                               Defendant
                                                                         )                                           r- .
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                                                                                                                                     C-)       m
                                                           ARREST WARRANT                                                                      (')
                                                                                                                    '                I
                                                                                                                                    Cv         l'T1
To:       Any authorized law enforcement officer                                                                            ')

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                                                                                                                           -: :_               m
          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge witho;t un'n~ cessar;:aelay
                                                                                                                        l )        Ul
(name ofperson to be arrested)                                                      Barry Croft                         ..         w
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               •    Superseding Indictment          0 Information        0 Superseding Information                    i;zJ Complaint
0 Probation Violation Petition                   0 Supervised Release Violation Petition           • Violation Notice             O Order of the Court

This offense is briefly described as follows:
  Conspiracy to commit kidnapping violation of 18 USC 1201(c)

                                                                                                                                   OCT ? 6 2020




Date:     10/06/2020
                                                                                                       Judge's signature


City and state:        Grand Rapids, Michigan                                Sally J. Berens, United States Magistrate Judge
                                                                                                     Printed name and title


                                                                      Return

          This warrant was received on (date)                                , and the person was arrested on (date)
at (city and state) 5..µe,.ol4 s:bo.- b   ,   ).JJ'
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